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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


SCOTTSDALE INSURANCE COMPANY,            )
                                         )
      Plaintiff,                         )
                                         )       CIVIL ACTION NO.
      v.                                 )         2:18cv475-MHT
                                         )             (WO)
CALHOUN HUNTING CLUB AND                 )
LOUNGE, TERRY BAITY, and                 )
TIFFANY MILLER,                          )
                                         )
      Defendants.                        )

                               OPINION

    Plaintiff      Scottsdale        Insurance    Company     filed     a

complaint against defendants Calhoun Hunting Club and

Lounge,    Terry    Baity,    and    Tiffany     Miller,    seeking     a

declaration that the insurance company had no duty to

defend or indemnify the club and Baity (the club’s owner)

in a lawsuit brought by Miller in state court.                     This

matter is now before the court on Baity’s and Miller’s

motions    to      dismiss     for     lack      of   subject-matter

jurisdiction.      After thorough review of the law and the

record, the court concludes that those motions should be
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granted and that this case should be dismissed in its

entirety.



                         I.    JURISDICTION

    Scottsdale      Insurance     Company    invokes     the   court’s

diversity jurisdiction pursuant to 28 U.S.C. § 1332,

asserting that the parties are completely diverse and the

amount in controversy is over $ 75,000.             Baity and Miller

contend that the case is not properly in federal court

because Miller is not claiming over $ 75,000 in her

state-court action.1          For the reasons discussed below,




    1. Baity, separately, contends that the insurance
company is a citizen of Alabama because “it does business
here” and thus the parties are not diverse. This argument
can be quickly dispatched.     For diversity purposes, a
corporation is a citizen of every State in which it is
incorporated and the State where it has its principal
place of business.      See 28 U.S.C. §1332(c)(1).      A
corporation’s principal place of business is the place
where its officers direct, control, and coordinate its
activities--its “nerve center.” Hertz Corp. v. Friend,
559 U.S. 77, 92-93 (2010).     The insurance company has
established it is a citizen of Ohio (where it is
incorporated) and Arizona (where it has its principal
place of business).
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the insurance company has not satisfied its burden to

prove by a preponderance of the evidence the required

jurisdictional amount.



                         II.    BACKGROUND

    This case arises out of a 2016 shooting at Calhoun

Hunting Club and Lounge in Letohatchee, Alabama.                        A

security guard at the club fired five to six shots into

a car occupied by Nakia Rivers and Miller.                 Rivers was

killed in the incident.         Rivers’s estate brought claims

against, among others, the club and its owner Baity.

Pursuant   to   a   commercial-liability         insurance     policy,

Scottsdale Insurance Company paid $ 300,000, the full

aggregate limit of the policy, in settlement of the

estate’s claims against the club.

    After the insurance company settled with Rivers’s

estate, Miller (the driver of the vehicle) sued the club

and Baity in state court, seeking an unspecified amount

of compensation for severe mental anguish, emotional


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distress, and damages to her vehicle. She also included

a claim for punitive damages in an unspecified amount.

She did not name the insurance company as a defendant.

    Scottsdale Insurance Company then filed this federal

lawsuit pursuant to 28 U.S.C. § 2201 and Federal Rule of

Civil Procedure 57, seeking a declaration that it had

paid the full $ 300,000 sum of the general aggregate

limit of its policy with Calhoun Hunting Club and thus

had no further duty to defend or indemnify the club or

Baity in connection with Miller’s suit.             As stated, Baity

and Miller moved to dismiss this declaratory-judgment

action for lack of subject-matter jurisdiction.



                         III.    DISCUSSION

    “Federal courts are courts of limited jurisdiction.”

Burns v. Windsor Ins. Co., 31 F.3d 1092, 1095 (11th Cir.

1994).   A plaintiff seeking to invoke a federal court’s

diversity jurisdiction must establish that the amount in

controversy exceeds $ 75,000.           See 28 U.S.C. § 1332(a).


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“When a plaintiff seeks injunctive or declaratory relief,

the amount in controversy is the monetary value of the

object       of     the       litigation      from   the      plaintiff’s

perspective.”            Cohen v. Office Depot, Inc., 204 F.3d

1069, 1077 (11th Cir. 2000).

       In   general,      the     plaintiff’s    allegation      that      the

amount in controversy is met must be taken as true, see

Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct.

547, 553 (2014), and may be dismissed only if it appears

“to a legal certainty” that the claim does not exceed

$ 75,000.         St. Paul Mercury Indem. Co. v. Red Cab Co.,

303     U.S.      283,    289    (1938).       But   where,      as     here,

jurisdiction        is    based     on   a   claim   for   indeterminate

damages        (such     as     nonmonetary    relief),    the        “‘legal

certainty’ test gives way, and the party seeking to

invoke federal jurisdiction bears the burden of proving

by a preponderance of the evidence that the claim on

which it is basing jurisdiction meets the jurisdictional




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minimum.”       Federated Mut. Ins. Co. v. McKinnon Motors,

LLC, 329 F.3d 805, 807 (11th Cir. 2003).

      “[W]hen an insurer seeks a judgment declaring the

absence of liability under a policy, the value of the

declaratory relief to the plaintiff-insurer is the amount

of potential liability under its policy.”                First Mercury

Ins. Co. v. Excellent Computing Distribs., Inc., 648 F.

App’x 861, 865 (11th Cir. 2016) (emphasis in original)

(citing Stonewall Ins. Co. v. Lopez, 544 F.2d 198, 199

(5th Cir. 1976)).         Such potential liability includes not

only the amount of the claim against the insured for

which the insurer may be liable, but also the costs of

defending an underlying action against the insured.                       See

Stonewall, 544 F.2d at 199.



                   A.   Face Value of the Policy

      Scottsdale Insurance Company argues the face value

of    the    policy--$ 300,000--“should           be    considered        in

determining the amount in controversy.”                   Sur-Reply in


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Opposition to Motion to Dismiss (doc. no. 30) at 4.                         For

its argument, the insurance company cites Koester v.

State    Farm    Ins.    Co.,   No.        7:12-cv-02528-JEO,        2012    WL

5265783, at *4 (N.D. Ala. Oct. 22, 2012) (Ott, M.J.)

(citations omitted), which held that “the face value of

the policy generally controls where the parties’ dispute

involves either the validity of the policy itself ... ,

or coverage for claims that appear to put the face amount

of the policy at issue.”

       Koester     cited    two    cases         in     support     of     this

conclusion: C.E. Carnes & Co. v. Employers’ Liability

Assurance       Corp.,   101    F.2d       739   (5th    Cir.     1939),    and

Guardian Life Insurance Co. of America v. Muniz, 101 F.3d

93   (11th    Cir.    1996)     (per       curiam).       In    Carnes,     the

plaintiff-insurer sought a declaration that its policy

covering insured’s truck did not extend to hauling butane

gas.     101 F.2d at 740.         The court held that the amount

in controversy “is not ... what individual defendants

claim by way of damages. ... The amount in controversy


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is the value of that which is sought to have declared

free from doubt--the policy for $25,000.”                   Id. at 741.

In    Guardian      Life,    the     plaintiff-insurer        sought       a

declaration invalidating a life-insurance policy because

it was obtained through fraud.                101 F.3d at 94.             The

court held that, in that case, the face value of the

policy “constituted the jurisdictional amount.”                   Id.

      The Eleventh Circuit Court of Appeals clarified the

scope of Carnes and Guardian Life in Friedman v. New York

Life Insurance Co., 410 F.3d 1350, 1357 (11th Cir. 2005).

In Friedman, the court stated that the face value of the

insurance policy controlled in those cases because “each

involved a dispute about the validity of the policy or

the scope of coverage for a claim that put the face amount

of the policy at issue.”           Id. at 1357; see also Hartford

Ins. Grp. v. Lou-Con Inc., 293 F.3d 908, 911 (5th Cir.

2002) (“We do not read [Carnes], as Hartford urges, to

announce a rule that the policy limits determine the

amount in controversy.          Carnes simply held that numerous


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individual claims against an insurer may be aggregated

to reach the policy limit.”).               Other courts of appeal

have stated the same principle more explicitly: The face

value controls only where the validity of the policy is

disputed or the value of the underlying claims exceeds

the policy limits.      See Hartford, 293 F.3d at 911; Budget

Rent-A-Car v. Higashiguchi, 109 F.3d 1471, 1473 (9th Cir.

1997) (citing 14A Charles A. Wright et al, 14A Fed. Prac.

& Proc.: Jur. § 3710 (2d ed. 1985)).

    This principle makes sense because, in both of those

situations,    the    face    value    of   the   entire    policy      is

actually in controversy.         In the case of a dispute about

the validity of the entire policy, the face value is in

controversy because a judicial determination as to the

entire policy’s validity would settle whether the insured

has a right to coverage in the full amount stated in the

insurance contract.          In the case of underlying claims

that exceed the policy limits, the face value is in

controversy because, if the claimant is successful, the


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insured will look to the insurer for indemnification in

the full amount stated in the contract.

       The situation may be different when “the question is

the     applicability    of       the    policy     to    a    particular

occurrence.”     Charles A. Wright et al., 14AA Fed. Prac.

& Proc.: Jur. § 3710 (4th ed. 2008 & Supp. 2018).                      When

the issue is “the applicability of an insurance policy

to a particular occurrence, the jurisdictional amount in

controversy is measured by the value of the underlying

claim--not the face amount of the policy.”                 Hartford, 293

F.3d at 911 (quoting Charles A. Wright et al, 14B Fed.

Prac.    &   Proc.:   Jur.    §   3710    (3d     ed.    1998));   accord

Friedman, 410 F.3d at 1357 (“Where, as here, there is no

controversy involving the face value of the policy, but

only with regards to certain premiums, it would make no

sense to consider the policy’s face value to be the amount

in controversy.”); Toler v. State Farm Mut. Auto. Ins.

Co., 25 F. App’x 141, 143 (4th Cir. 2001) (“A court should

not,     however,     automatically        equate        the   value     of


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[underlying]      claims    with     the       policy    limits      of    the

coverage.”).      The full amount of the policy is not being

sought by the injured party, so the full amount is not

actually in controversy.

      As one court noted, adopting the theory that the

amount in controversy “is determined by the amount of

coverage applicable to the claim of the defendant ...

would be authority for asserting federal jurisdiction in

any   declaratory    judgment       suit       involving      a   liability

insurance   policy       with    applicable          coverage     over    [the

jurisdictional threshold] no matter how small the claim

actually being made.”           Queens Ins. Co. of Am. v. Basham,

201 F. Supp. 733, 737 (W.D. Tenn. 1962) (Brown, J.).

      Here, the face value of $ 300,000 is not actually in

controversy; the validity of the insurance contract is

not in dispute.       Nor do the injured party’s underlying

claims   exceed    the     policy   limits.           Rather      Scottsdale

Insurance   Company       states,        and    no    party     appears     to

contest, that it discharged its insurance obligations to


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Calhoun Hunting Club with respect to the 2016 shooting

when    it   tendered   the     full       amount    of     the     $ 300,000

aggregate     policy    limit       in    satisfaction         of    Rivers’s

estate’s claims.        Since the insurance company already

paid    those   claims,       the        claims     are   no      longer   in

controversy and cannot be said to put the face value of

the policy at issue.

       All that remains in controversy is Miller’s claims.

The    insurance   company’s         argument       boils    down     to   the

assertion that its insurance obligations toward Calhoun

Hunting Club have already been fulfilled and thus the

policy does not oblige the insurance company to defend

or indemnify the club with respect to Miller’s claims;

that is, that the policy does not apply to Miller’s

claims.       Accordingly,      it       is   the   value      of   Miller’s

claims--not the face value of the policy--that is the

measuring stick for the amount in controversy.                             See

Hartford Ins. Grp., 293 F.3d at 911; Charles A. Wright




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et al., 14AA Fed. Prac. & Proc.: Jur. § 3710 (4th ed.

2008 & Supp. 2018); accord Friedman, 410 F.3d. at 1357.

    If    anything,     Koester        undermines    the    insurance

company’s position; Koester simply reaffirms that the

face value generally controls only where the validity of

the policy is in dispute or the claims exceed the policy

limits.   See Koester, 2012 WL 5265783, at *4.             Otherwise,

the court simply looks to the value of the claims actually

in controversy.        See id.         And, as explained in the

following sections, it is clear from the record here that

the value of the claims in controversy--that is, Miller’s

claims--is nowhere near the $300,000 policy limit.



             B. Scottsdale Insurance Company’s
                   Expected Defense Costs

    Scottsdale Insurance Company correctly asserts that

the potential costs of defending Miller’s lawsuit must

be considered in determining the amount in controversy.

See Stonewall, 544 F.2d at 199.                Where it founders,

however, is in its failure to provide evidence of what

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those defense costs will be.            It submits an affidavit

showing that it hired a lawyer to defend Calhoun Hunting

Club and its owner Baity at a rate “in excess of $ 100

per hour” and paralegals at a rate “in excess of $ 50 per

hour,” plus reasonable third-party costs such as those

incurred in taking depositions. Brief in Opposition to

Motion to Dismiss (doc. no. 23-1).              It also recites a

litany of standard litigation tasks it will have to

perform with respect to the Miller suit.2                It does not

submit, however, how much it has already paid in defense

costs or how much, with an educated guess, it expects to

pay.

       In the absence of such evidence, the court will not

speculate as to the amount, especially when the insurance

company is in the best position to estimate its own

defense costs.       Compare SUA Ins. Co. v. Classic Home



    2. As Miller correctly notes, because at least some
discovery was done in the Rivers lawsuit (which named the
same defendants and was based on the same occurrence),
the insurance company has less factual ground to cover
in this suit than it otherwise would.
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Builders, LLC, 751 F. Supp. 2d 1245, 1256 (S.D. Ala.

2010) (Steele, J.) (declining to make a “wild guess”

under similar facts as to the amount of attorney’s fees),

with QBE Ins. Grp., Ltd. v. Automax USA, Inc., No.

7:12cv02519-LSC, 2013 WL 12253572, at *2 (N.D. Ala. Mar.

22,   2013)     (Coogler,      J.)     (affidavit     from   insurance

adjuster estimating total defense costs provided ample

evidence, “more than mere speculation,” that insurer

would incur the costs as stated in the affidavit).                     The

court therefore finds that the insurance company has not

met   its     burden   to   prove         its   defense   costs   by     a

preponderance of the evidence.



                  C. Miller’s Claimed Damages

      This    court    turns    next       to   Scottsdale   Insurance

Company’s contention that the value of Miller’s claims

in state court exceeds $ 75,000.                   For the following

reasons, Miller’s claims do not exceed the threshold

amount required to invoke this court’s jurisdiction.


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    In her state-court complaint, Miller claims damages

in an unspecified amount for severe mental anguish and

emotional distress, property damage to her vehicle, and

punitive   damages.       Notably,      she   claims    no    physical

injuries as a result of the incident.

    As stated, the insurance company carries the burden

of proving damages by a preponderance of the evidence.

See Federated Mut. Ins. Co., 329 F.3d at 807.                  For its

argument that the amount in controversy is met, it cites

a number of cases in which the Alabama Supreme Court

affirmed    jury     awards     in     excess    of     $ 75,000        in

compensation for emotional distress where there were no

physical injuries.        See, e.g., Orkin Exterminating Co.

v. Jeter, 832 So. 2d 25 (Ala 2001); Alabama Power Co. v.

Murray, 751 So. 2d 494 (Ala. 1999); Delchamps, Inc. v.

Bryant, 738 So. 2d 824 (Ala. 1999).

    But the Eleventh Circuit has warned against trying

to predict what a state court will award when determining

the amount in controversy.           See Federated Mut. Ins. Co.,


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329 F.3d at 809 (“[M]ere citation to what has happened

in the past does nothing to overcome the indeterminate

and speculative nature of Federated’s assertion in this

case.”).    Without any evidence as to the severity of

Miller’s   emotional     distress,      the    court    declines     the

invitation to divine what a state-court jury might award

her for such.

    The insurance company also points to the damages to

Miller’s car, which it says “increase the amount in

controversy by several thousand dollars.” Response to

Motion to Dismiss (doc. no. 23) at 6.                   It does not,

however,   provide    any    evidence     of   the     extent   of   the

damages to the car.       What’s more, Miller represents that

the evidence will show that she paid between $ 200 and

$ 300 to replace her rear window and that her parents

cleaned the interior of the passenger seat where Rivers

was sitting when she was shot. See Reply to Brief in

Opposition to Motion to Dismiss (doc. no. 26) at 3.




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Without evidence as to the amount of damages to the

vehicle, the court again declines to speculate.

    Finally, the insurance company makes much of the fact

that Miller claims punitive damages.           It correctly states

that punitive damages must be considered when determining

the amount in controversy, “unless it is apparent to a

legal certainty that such cannot be recovered.” Holley

Equip. Co. v. Credit All. Corp., 821 F.2d 1531, 1535

(11th Cir. 1987).        But the insurance company’s policy

plainly excludes punitive damages from coverage.                    See

Exhibit A to Complaint (doc. no. 1-1) at 88. Accordingly,

it appears to a legal certainty that punitive damages

cannot be recovered against Scottsdale.                See SUA Ins.

Co., 751 F. Supp. 2d at 1255 (holding that a policy

exclusion of punitive damages is captured by the “legal

certainty” rule).      The court will therefore not consider

Miller’s claim for punitive damages in determining the

amount in controversy.




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      In any event, Miller has sufficiently stipulated that

she will not seek or accept more than $ 50,000 in the

state-court lawsuit.       She represented to this court that

she will “limit her claim against the defendants in her

Lowndes County case to $ 50,000,” and amend her ad damnum

clause    accordingly.    Reply    to   Brief    in    Opposition       to

Motion to Dismiss (doc. no. 26) at 5.             In its sur-reply,

the      insurance    company       responded         that   such       a

representation is not binding and thus ineffective to

keep this case out of federal court. See Sur-reply Brief

(doc. no. 30).       Miller then filed a sur-reply to the

insurance company’s sur-reply, stating in unequivocal

terms that her “agreement to limit her state court claim

to $ 50,000 is binding on her,” she will be “estopped to

claim more” than $ 50,000 in her state-court action, and

she has “waived her right to sue for more than $ 50,000.”

Sur-reply to Sur-reply Brief (doc. no. 32).3



    3. The insurance company has filed a motion to strike
Miller’s sur-reply to its sur-reply because she did not
first ask for leave of the court. By separate order, the
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    The court credits these representations as bona fide.

As an officer of the court, Miller’s counsel is “subject

to sanctions under Federal Rule of Civil Procedure 11 for

making a representation to the court for an improper

purpose, such as merely to defeat diversity.”               Federated

Mut. Ins. Co., 329 F.3d at 808.             The court, therefore,

“give[s] great deference to such representations and

presume them to be true.”           Id.    At the same time, the

court reminds both parties that it retains jurisdiction



motion will be denied.       There is case law that,
ordinarily, “[s]ur-replies can only be filed with leave
of court and are ordinarily stricken if no such leave is
requested or received.” Mobile Cty. Water, Sewer & Fire
Prot. Auth., Inc. v. Mobile Area Water & Sewer Sys.,
Inc., No. 1:07-cv-0357, 2007 WL 3208587, at *5 n.10 (S.D.
Ala. Oct. 29, 2007) (Steele, J.). But there is also case
law that the court still has discretion to consider an
improperly   filed   sur-reply,   especially   when   “no
conceivable prejudice” to the other party could result.
Kerns v. Sealey, 496 F. Supp. 2d 1306, 1310 n.5 (S.D.
Ala. 2007) (Steele, J.).    The court has no reason to
think the insurance company will be prejudiced by
consideration of Miller’s improperly filed sur-reply.
The court further finds that consideration of the
sur-reply is warranted because, as explained in the main
text, the sur-reply bears significantly on the extent to
which Miller’s amount-in-controversy stipulation is
binding.
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to hear a motion for Rule 11 sanctions even after the

case on which it is based has been dismissed for lack of

jurisdiction. See id. at 808 n.6 (noting in a declaratory

judgment action that when the plaintiff in the underlying

suit stipulates that the amount in controversy is less

than $75,000 and the case is dismissed, “a motion for

Rule 11 sanctions involves a collateral proceeding that

can be initiated and decided after the case on which it

is based is finally resolved and no longer pending”); see

also Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 395-

96 (1990).     Should Miller renege on her promise, upon

motion to this court, “sanctions will be swift in coming

and painful upon arrival.”        Pickett v. Michigan Mut. Ins.

Co., 928 F. Supp. 1092, 1093 (M.D. Ala. 1996) (De Ment,

J.).   For these reasons, the court finds that the amount

in controversy does not exceed $ 75,000, and this is case

should be dismissed as to Baity and Miller.




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                      D. Calhoun Hunting Club

    Calhoun Hunting Club has not formally appeared in

this case.    Scottsdale Insurance Company represents that

the club is operated by Baity as an unincorporated sole

proprietorship with “no legal existence separate from

Baity.”     Compl. (doc. no. 1) at 1.          Evidence in support

of this allegation may be found in Baity’s conflict

disclosure statement, which states that he owns the club.

See Conflict Disclosure Statement (doc. no. 16).                    The

summons for the club was returned executed on May 24,

2018, and was personally served on Baity.                See Summons

and Proof of Service (doc. no. 3) at 2               Baity was also

served in his individual capacity at the same time.                 See

Summons and Proof of Service (doc. no. 4) at 2.              However,

Baity’s attorney stated in his notice of appearance that

he was representing Baity individually; no indication was

made whether he was also representing Calhoun Hunting

Club.     See Notice of Appearance (doc. no. 14).




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    But Alabama law “makes no distinction between an

individual and a sole proprietorship operated by the

individual.      They are considered the same for legal

purposes.”     Ex parte Hughes, 51 So. 3d 1016, 1018 (Ala.

2010).    Accordingly, the court has treated Baity’s motion

to dismiss as a motion on behalf of Calhoun Hunting Club

as well and, therefore, will also dismiss this case as

to the club.     If any of the parties disagrees with this

treatment of the club, that party can file a motion,

within 10 business days, asking for reconsideration of

this issue.



                                  ***



    For the foregoing reasons, the motions to dismiss

will be granted and the case dismissed in its entirety

without      prejudice      for        lack   of     subject-matter

jurisdiction.




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  An appropriate judgment will be entered.

  DONE, this the 26th day of December, 2018.

                                 /s/ Myron H. Thompson
                              UNITED STATES DISTRICT JUDGE




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